                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

In re:

DELUXE BUILDING SOLUTIONS, LLC,                      Case No.: 5:21-bk-00534-HWV
                           Alleged Debtor.
                                                     Chapter 7

    ALLEGED DEBTOR, DELUXE BUILDING SOLUTIONS, LLC’S
    SUPPLEMENTAL MEMORANDUM OF LAW IN RESPONSE TO
 JOINDER STATEMENT OF ANDREW W. HAYES AND IN SUPPORT OF
    ITS ANSWER AND MOTION TO DISMISS THE INVOLUNTARY
            PETITION FOR LACK OF JURISDICTION

 I.       INTRODUCTION

          On September 13, 2021 the alleged debtor, Deluxe Building Solutions, LLC

 (“Deluxe”), filed its Memorandum of Law (the “Memorandum” [Dkt. No. 129]) in

 support of Deluxe’s Answer to the involuntary petition, and Motion for the entry

 of an order dismissing with prejudice the Involuntary Petition filed in this case as

 a bad faith filing and for additional relief (the “Motion to Dismiss”). The hearing

 on the Motion to Dismiss was set for the morning of September 23, 2021. On the

 morning of September 23, 2021, just before the start of the hearing, Andrew W.

 Hayes filed to join as an additional petitioning creditor.1

          Deluxe, by and through its undersigned counsel, files this Supplemental

 Memorandum of Law in opposition to Hayes’ joinder as a petitioning creditor.


 1
  The evidentiary hearing commenced on September 23, 2021 has been continued to December
 15 and 16, 2021. [Dkt. 141]


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 Under state contract law, Hayes (and the other individual petitioning creditors)

 waived the right to commence this case, and their contractual waiver is enforceable

 under Bankruptcy law.

          In effect, this involuntary bankruptcy and this Court’s jurisdiction over same

 rests on issues of contract interpretation under state law. If Hayes, Wieler and

 Labanara contractually waived their right to file the involuntary petition against

 Deluxe, they could not qualify as petitioning creditors; and, without them, the

 Involuntary Petition fails. Further, as set forth in Deluxe’s Memorandum of Law

 and explained herein, the debts claimed by Taylor & Peterson and Superior

 Controls’ are not debts of Deluxe and, pursuant to the Sync USA Operating

 Agreement, are actually the obligations of Hayes and Wieler. Consequently, Taylor

 & Peterson and Superior Controls also do not qualify as petitioning creditors

 against Deluxe.

 II.      ARGUMENT

          A.    Standard Of Review

          A court may dismiss a Chapter 7 case “only after notice and a hearing and

 only for cause.” 11 U.S.C. §707(a). Cause for dismissal exists where the petitioners

 lack authority to file a bankruptcy petition. Price v. Gurney, 324 U.S. 100, 106

 (1945) (stating that, if a court finds a lack of authority to file a bankruptcy petition,

 “it has no alternative but to dismiss the petition”); see, e.g., In re ComScape


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 Telecommunications, Inc., 423 B.R. 816, 829 (Bankr. S.D. Ohio 2010) (interpreting

 “cause” under §1112(b) and holding that “[i]t is well established that lack of

 authority to commence a bankruptcy case constitutes cause for dismissal”).

          B.     Waivers Of The Right To File A Bankruptcy Petition Are
                 Enforceable

          A provision in a contract waiving a party’s right to file a bankruptcy action

 or limiting that party’s rights in future bankruptcy actions are generally

 enforceable. Courts enforcing such provisions make a distinction between waivers

 of the right to ﬁle bankruptcy and parties voluntarily agreeing among themselves

 that authority to ﬁle a bankruptcy shall not exist absent satisfaction of certain

 conditions precedent. While the Bankruptcy Code contains a number of so-called

 “ipso facto” provisions that invalidate certain contractual provisions for a debtor to

 waive its right to seek relief under the Bankruptcy Act as contrary to federal public

 policy, see e.g., In re Gen. Growth Props., Inc., 409 B.R. 43, 49 (Bankr. S.D.N.Y.

 2009), 2 bankruptcy law is equally clear that state contract and corporate law govern

 the process for determining whether a bankruptcy ﬁling was duly authorized. See,

 2
   See also 11 U.S.C. §365(b)(2)(B) (“Paragraph (1) of this subsection [dealing with contract
 defaults] does not apply to a default that is a breach of a provision relating to . . . the
 commencement of a case under this title” (alteration added)); 11 U.S.C. §365(e)(1) (B)
 (“Notwithstanding a provision in an executory contract or unexpired lease, or in applicable law, an
 executory contract or unexpired lease of the debtor may not be terminated or modiﬁed at any time
 after the commencement of the case solely because of a provision in such contract or lease that is
 conditioned on the commencement of a case under this title.”); 11 U.S.C. § 541(c) (“An interest of the
 debtor in property becomes property of the estate . . . notwithstanding any provision in an agreement,
 transfer instrument, or applicable non-bankruptcy law…that is conditioned on the insolvency or
 ﬁnancial condition of the debtor, [or] on the commencement of a case under this title…”).

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 e.g., In re Simplexity, LLC, No. 14-01569, 2017 WL 2385404 (Bankr. D. Del. June

 1, 2017) (citing TravelCenters of Am., LLC v. Brog, No. 3516, 2008 WL 1746987,

 at *1 (Del. Ch. Apr. 3, 2008) for the proposition that, under Delaware law, “limited

 liability companies are creatures of contract” and, thus, drafters enjoy broad

 freedom in creating bylaws); see also In re Grupo Dos Chiles, LLC, No. 1447, 2006

 WL 668443, at *2 (Del. Ch. Mar. 10, 2006).

          Provisions in LLC operating agreements that require certain approvals or

 unanimous consent by managers or members before ﬁling a bankruptcy petition are

 frequently enforced. For instance, in In re Avalon Hotel Partners, LLC, 302 B.R.

 377 (Bankr. D. Or. 2003), the LLC operating agreement required 75% member

 approval for certain “major decisions.” Although bankruptcy was not speciﬁcally

 listed as an event triggering the “major decision” clause, the bankruptcy court

 concluded that a bankruptcy ﬁling fell within the scope of that provision and, thus,

 imposed a 75% requirement. Id. at 380-81.

          In In re DB Capital Holdings, Nos. CO-10-046, 10-23242, 463 B.R. 142

 (Table), 2010 WL 4925811 (B.A.P. 10th Cir. 2010), the debtor was a manager-

 managed LLC. The members of the debtor subsequently restricted the company’s

 ability to ﬁle a bankruptcy petition by amending its operating agreement to include

 an anti-bankruptcy provision. A few years later, the manager of the debtor ﬁled a

 voluntary bankruptcy petition on the debtor’s behalf for purposes of defeating a


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 state court receivership. One of the members did not consent to the ﬁling and

 sought to dismiss it as unauthorized based on the anti-bankruptcy provision, despite

 arguments to the contrary that such a provision should be invalidated on public-

 policy grounds because the provision was included at a lender’s behest. The

 bankruptcy court enforced the contractual restriction and dismissed the case. The

 Tenth Circuit aﬃrmed on appeal, concluding that the terms of the operating

 agreement could prohibit the limited liability company from seeking bankruptcy

 relief. Id. at *5.

          Other courts have reached similar conclusions in analogous situations. See,

 e.g., In re Orchard at Hansen Park, LLC, 347 B.R. 822, 826-27 (Bankr. N.D. Tex.

 2006) (enforcing operating agreement that required unanimous member consent for

 the ﬁling of a voluntary bankruptcy case); In re 210 West Liberty Holdings, LLC,

 No. 08-677, 2009 WL 1522047, at *5 (Bankr. N.D. W.Va. May 29, 2009)

 (provision that “all decisions” be made by majority vote was suﬃcient to allow

 bankruptcy ﬁling over member objection because the objecting member’s approval

 was not necessary to constitute a majority); In re Ice Oasis, LLC, No. 08-31522,

 2008 WL 5753355, at *3 (Bankr. N.D. Cal. Nov. 7, 2008) (in two-member LLC

 with 50/50 ownership, both members were required to approve the bankruptcy

 ﬁling because the operating agreement provided for “all decisions” to be approved

 by a majority).


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          C.    Hayes Contractually Waived The Right To File The Involuntary
                Petition Against Deluxe Pursuant To the Sync USA Operating
                AGREEMENT
          Hayes and Wieler waived their right to file the involuntary petition in this

 case by voluntarily agreeing in the Sync USA Operating Agreement (the

 “Operating Agreement”) to restrict the right of members and managers to initiate

 certain actions against Sync USA, its other members (which include Deluxe) and

 any other manager. A copy of the Operating Agreement was attached to Deluxe’s

 Motion to Dismiss and can be found at Docket Number 121-2. The restriction

 broadly precluded managers, like Hayes and Wieler, from seeking injunctive relief

 unless certain steps were taken prior to initiating the action seeking relief. To wit:

          Section 10.4: “No Member or Manager may initiate an action seeking a
          Temporary Restraining Order or a Preliminary Injunction against the
          Company, any other Manager, or any other Member unless such person has
          complied with the dispute resolution procedure set forth in Section 10.1
          hereof”
          The involuntary petition filed in this matter falls within this restriction. Upon

 the filing of an involuntary petition, the automatic stay provision of Section 362 of

 the Code is triggered. 11 U.S.C. §§303(h), 362(a). The automatic stay is

 comparable to an automatic injunction. See, e.g., Whittaker v. Phila. Elec. Co., 92

 B.R. 110, 117 (E.D. Pa. 1988). “When a bankruptcy petition is filed, an automatic

 stay operates as a self-executing injunction.” Campbell v. Countrywide Home

 Loans, Inc., 545 F.3d 348, 354-55 (5th Cir. 2008).

          Therefore, Hayes and Wieler were prohibited from filing the involuntary
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 petition because it is an “action” which triggers the automatic stay injunction

 against a “Member” (Deluxe), and effectively results in an injunction via the order

 for relief, without first complying with the dispute resolution procedure set forth in

 Section 10.1 of the Operating Agreement. Section 10.1 provides in relevant part:

          In the event of any dispute, controversy or claim …the parties to such
          controversy or claim shall first use their reasonable best efforts in good faith
          to resolve such dispute among themselves by sending written notice to each
          other Member and the Managers (or any of them) setting forth in reasonable
          detail the nature of such dispute, the resolution requested, and the damages
          which would result if a resolution were not affected (the “Dispute Notice”).
          Each party and the Managers receiving a Dispute Notice shall meet at the
          principal office of the Company within ten (10) calendar days of the date of
          such Dispute Notice at a date and time selected by the Managers and duly
          noticed to each Member and Manager …(the “Dispute Resolution Meeting”).
          The Parties shall confer at the Dispute Resolution Meeting, and will use good
          faith efforts within the twenty (20) days after the Dispute Resolution Meeting
          to resolve the dispute (the “Dispute Resolution Period”).
          Notwithstanding the express requirements quoted above, at no time did

 Hayes or Wieler send Deluxe (or any other required person) a Dispute Notice. Nor

 did they schedule any Dispute Resolution Meetings or follow any of the other

 Dispute Resolution Procedures which were contractual pre-requisites to filing an

 the voluntary petition in this case against any other Member—i.e., Deluxe.

          Having failed to comply with the Dispute Resolution prerequisites, the

 Operating Agreement dictates that Hayes and Wieler consent to the dismissal of

 the improperly initiated action and waive the right to challenge or appeal from such

 dismissal. As per Section 10.4 of the Operating Agreement:


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          Should a party initiate an action seeking a TRO and/or a preliminary
          injunction in violation of the notice requirement provided for in this Section
          10.4, then, upon a motion or other application brought by the party against
          whom the action seeking a TRO and/or a preliminary injunction has been
          brought without the prior requisite notice set forth in this Section 10.4, the
          court shall deny said motion for a TRO and preliminary injunction with
          prejudice, and the party initiating the action without the requisite notice
          hereby specifically consents to same, and waives all right to challenge same
          or appeal therefrom to the extent permitted by law. (emphasis added).3
          As such, and as mandated by Sections 10.3 and 10.4 of the Operating

 Agreement, because Hayes and Wieler initiated the involuntary bankruptcy—

 which is an “action” that triggered the automatic stay injunction against Deluxe and

 would lead to other injunctive-like relief—without first following the requisite

 Dispute Resolution Procedure, they waived their right to do so. They also agreed

 that, “upon a motion or other application brought by the party against whom the

 action … has been brought without the prior requisite notice . . . the court shall

 [dismiss same]…and the party initiating the action without the requisite notice

 hereby specifically consents to same, and waives all right to challenge same or

 appeal therefrom to the extent permitted by law.” Deluxe’s Motion to Dismiss is


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   Section 10.3 entitled, “Effect of failure to follow the Dispute Resolution Procedure,” further
 provides: “In the event a party shall have failed to follow the dispute resolution procedure [and]…
 has thereafter brought an action … then upon a motion brought by the Managers or any other party
 to such dispute, the action initiated by the non-complying Member, Operating Manager or
 Manager, shall be dismissed with prejudice… and each Member and Manager hereby specifically
 consents to same, and waives all right to challenge same or appeal therefrom to the fullest extent
 permitted by law.” Sections 10.3 and 10.4 plainly applied to Hayes and Wieler. See Section 1.2
 of the Operating Agreement (“References to a Member that is not a natural person shall also be
 deemed to include such Member’s Principals and any other person affiliated with such Member
 who is also a Manager or an employee of the Company or its Subsidiaries”).


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 that motion. 4

          In addition, Hayes and Wieler both agreed in the Operating Agreement that

 certain acts, which are defined therein to constitute “Cause,” are prohibited and, if

 undertaken, are ultra vires and a breach of the Agreement. For such ultra vires

 acts, a Manager, such as Hayes, and a Company Executive, such as Wieler, can be

 removed from those positions5 and the Member associated with them, SyncPark

 LLC (“SyncPark”), is automatically deemed to have withdrawn from the LLC—

 which triggers a right for the non-defaulting member to purchase the defaulting

 member’s interest per a formula price as set forth in Section 3.21.6

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   Not only did Hayes and Wieler fail to initiate any Dispute Resolution Procedures prior to filing
 the involuntary petition, they also failed to comply with their obligations to participate in good
 faith with respect to a Dispute Resolution Notice and Demand for Indemnification sent by
 Deluxe to each of them on March 23, 2021, a copy of which is attached hereto as Exhibit “1”
 (the “Deluxe Dispute Notice”). Pursuant to the Deluxe Dispute Notice, the Dispute Resolution
 Meeting was scheduled for Friday March 26, 2021 at 2:00 PM, and because this was during the
 COVID pandemic, the notice gave the recipients the choice to meet in person at the Company’s
 offices or by Zoom. Neither Hayes nor Wieler appeared or participated. At least Weiler, through
 his counsel, was placed on notice of the potential import of the Dispute Resolution Meeting and
 its effect on the rights of the parties, including expressly their ability to file an involuntary
 bankruptcy against Deluxe.
 5
   See Operating Agreement §§ 6.3(f) (“Any Manager may be removed from the Board for Cause
 by the majority vote of the Members or as reasonably determined by the other Manager”), 6.1(c)
 (“If a Company executive has committed any act constituting ‘Cause’, then any Manager may,
 upon a reasonable written determination that a Company Executive has committed a ‘Cause’ act,
 unilaterally remove such Company Executive for Cause, and substitute any other person
 reasonably selected by said Manager to replace such Company Executive”).
 6
   Deluxe asserts that this actually happened on August 19, 2020 with the ultra vires issuance of an
 unauthorized purchase order in favor of Superior Controls, and that Deluxe has exercised its right
 to buy the SyncPark interest as of that date. Pursuant to Section 3.21 of the Operating Agreement:
 “In the event a Member has Withdrawn (or has been deemed to have Withdrawn) …then in such
 event the Company may (but shall not be obligated to), … elect to repurchase from such
 Member…such Member’s Units at a price equal to the lower of (A) the Original Cost or cash

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          Pursuant to Section 1.2 of the Sync USA Operating Agreement:

          “Cause” means, with respect to a Member, Operating Manager, Principal or a
          Manager, a good faith determination by the Board … that:… (ix) such person
          has voluntarily filed a petition in Bankruptcy…

          By voluntarily filing the involuntary petition against Deluxe, Hayes and

 Wieler breached the Sync USA Operating Agreement for Cause and the same is

 deemed an “ultra vires” act. In addition to other remedies under the Operating

 Agreement, a member or manager who commits an ultra vires act is required to

 indemnify the other members and managers for costs, expenses and damages

 resulting from such action. 7

          Based on the foregoing, neither Hayes nor Wieler had a right to, and in fact,

 waived their right to file the involuntary petition against Deluxe, consented to this

 Court dismissing same with prejudice, waived all rights to challenge same or appeal

 therefrom to the extent permitted by law, and must indemnify Deluxe “for any

 costs, damages or other expenses incurred by [Deluxe]…as a result of the


 contributions made to the Company of such Units or (B) Seventy Five percent (75%) of the Fair
 Value of such Units as reasonably determined by the Board.”
 7
  Pursuant to the final paragraph of Section 6.8: “Any Manager or any Member who shall cause
 an ultra vires act to be undertaken shall (i) be obligated to indemnify the Company, each other
 Manager and each other Member for any costs, damages or other expenses incurred by the
 Company, any Subsidiary, any other Manager and/or any other Member as a result of the
 unauthorized action of such Manager, Member, its Principals or any officer, employee or agent
 of such Member; and (ii) such Member (or the Member who is affiliated with such Manager, or
 who designated such Manager) shall automatically be deemed to have withdrawn from the
 Company. To the fullest extent permitted by Law, any attempted action in contravention of this
 Section 6.8 shall be null and void ab initio and not binding upon the Company, any Subsidiary,
 any other Member and/or any other Manager.”

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 unauthorized action.”8

          D.     Nothing About Hayes’ Joinder Can Save The Defective Claims Of
                 Taylor & Peterson And Superior Controls, Because Hayes—Like
                 Wieler—Was Not Authorized On Behalf Of Deluxe (Or Sync USA)
                 To Incur Any Debt

          The only executive level persons employed by Deluxe and Sync USA who

 had any business dealings with Taylor & Peterson and Superior Controls were

 Hayes and Wieler. As such it was Hayes and Wieler (and no other employees of

 Deluxe or Sync USA) who were the sole source if information communicated to

 Taylor & Peterson and Superior Controls. As the Company Executives of Sync

 USA Hayes and Wieler: (a) established the scope of work to be provided by each

 of those two engineering firms; (b) determined the deliverables; (c) determined the

 schedule; (d) negotiated and agreed to financial terms; and (e) it was Hayes and

 Wieler—and no other person—who instructed Taylor & Peterson and Superior


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   Petitioner Labanara similarly contractually waived his right to initiate any claim against Deluxe
 as part of his employment agreement, a copy of which is attached hereto as Exhibit “2”. Pursuant
 to Section 14 of the agreement, Mr. Labanara agreed that:

          During Employee’s employment with Company, and during the one year period
          immediately following termination of Employee's employment with Company, Employee:
          (i) will not, directly or indirectly… commence a claim or take any action against any
          Company Party.
 Mr. Labanara’s employment with Deluxe ended on February 8, 2021 and the original petition
 was filed on March 18, 2021— within the one year prohibition period following termination of
 Mr. Labanara’s employment. By filing the involuntary petition in this case, Mr. Labanara
 “commence[d] a claim and [filed an] action against” Deluxe in violation of his express
 agreement to not do so. In the event of such a breach, Labanara agreed that Deluxe was entitled
 to injunctive relief and specific performance to cease or correct the breach and to indemnification
 for all losses and damages sustained as a result of his wrongful action. Exhibit 2 at §§ 12 and 15.


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 Controls who they should invoice.

          Certainly Taylor & Peterson and Superior Controls were concerned that they

 get paid, but they had no reason to care whether they were paid by Sync USA,

 Deluxe or any other person. If Hayes and Wieler instructed them to invoice Sync

 USA, Taylor & Peterson and Superior Controls would have invoiced Sync USA.

 If Hayes and Wieler instructed them to invoice XYZ Co., they would have invoiced

 XYZ Co. The relationship was with Hayes and Wieler—not Deluxe—and they

 relied on Hayes and Wieler to properly instruct them on who should be invoiced

 for the work they were undertaking for the Sync USA Automated Parking System.

          There is no dispute that the work done by Taylor & Peterson and Superior

 Controls was work in connection with the SyncPark Automated Parking System

 being designed by Sync USA. There is also no dispute that Hayes and Wieler

 instructed Taylor & Peterson and Superior Controls to invoice Deluxe. Yet, Hayes

 and Wieler were not authorized to incur the liabilities to Taylor & Peterson and

 Superior Controls on behalf of Deluxe or even Sync USA. Significantly, both the

 incurring of those obligations, as well as instructing Taylor & Peterson and

 Superior Controls to invoice Deluxe with respect to those obligations, were ultra

 vires acts by Hayes and Wieler that triggered their indemnification obligations to

 Deluxe. As discussed below, Hayes and Wieler have contractually undertaken

 “sole responsibility” to pay the claims of Taylor & Peterson and Superior Controls,


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 which are now the obligations of Hayes and Wieler, for which Deluxe is entitled to

 specific performance.

          E.    Hayes And Wieler as the Company Executives Wrongfully
                Instructed Taylor & Peterson And Superior Controls To Invoice
                Deluxe

          Pursuant to Section 6.1 of the Operating Agreement, as the “Company

 Executives,” Hayes and Wieler, were:

          responsible for the day-to-day operations of [Sync USA] and the
          implementation of, and execution of, the business plans of [Sync USA], at the
          expense of [Sync USA], in each case pursuant to and in accordance with the
          Approved Budget as in effect from time to time prepared by the Company
          Executives and approved by the Board.
          Hayes and Wieler have admitted in three separate writings, and Wieler

 admitted in his September 23rd testimony, that the obligations due to Taylor &

 Peterson and Superior Controls was for work done for Sync USA. The extent of

 Hayes and Wieler’s authority to incur the same is a matter of contract under state

 law. The Operating Agreement provides at Section 3.12:

          the debts, obligations and liabilities of [Sync USA] and its Subsidiaries,
          whether arising in contract, tort or otherwise, shall be solely the debts,
          obligations and liabilities of [Sync USA] or a Subsidiary, and no Manager,
          Member, Principal or their respective Affiliates (collectively “Covered
          Person”) shall be obligated personally for any such debt, obligation or
          liability of [Sync USA] or a Subsidiary …
          As such, as the work of Taylor & Peterson and Superior Controls was for

 Sync USA, and the obligation to pay for that work is an expense of Sync USA, the

 expense is a debt of Sync USA and cannot be a debt, obligation or liability of


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 Deluxe, as a member of Sync USA. To that end, Section 7.1 of the Operating

 Agreement titled “Limited Liability” further provides:

          the Members will not be personally liable for any obligations of the Company
          and contributions to the Company in excess of their respective Capital
          Contributions.
          This is true regardless of any claims related to Deluxe’s alleged funding

 responsibilities for the prototype garage. Such expenditures by Sync USA still had

 to be authorized.

          It should also be apparent from the unambiguous language of the Deluxe

 Procurement Manual—which they were contractually obligated to follow pursuant

 to Section 5.06 of their respective employment agreements—that neither Hayes nor

 Wieler were authorized to create any liability of Deluxe that was not in a Deluxe

 Approved Budget, nor authorized by Mr. Frydman if same exceeded $25,000.

 Again, the obligations to Taylor & Peterson and Superior Controls were neither

 included in any Deluxe Approved Budget nor authorized by Mr. Frydman. As such,

 Hayes and Wieler had no authority to incur same on behalf of Deluxe.

          F.    Hayes And Wieler Have Contractually Agreed To Be Solely
                Responsible For The Debts Due Taylor & Peterson And Superior
                Controls

          As a result of Hayes and Wieler’s breaches of the Operating Agreement as

 above set forth, they are contractually obligated to indemnify Deluxe and have

 contractually agreed to be “solely responsible for the expenses incurred” in favor

 of Taylor & Peterson and Superior Controls. Since the obligations to Taylor &
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 Peterson and Superior Controls are now the sole obligations of Hayes and Wieler,

 the expenses cannot be the obligations of Deluxe and, thus, Taylor & Peterson and

 Superior Controls cannot qualify as petitioning creditors.

                                III.   CONCLUSION

          Based on the foregoing, which establishes the lack of a single qualifying

 petitioner in this matter, Deluxe respectfully requests that the Court dismiss the

 Involuntary Petition with prejudice. In addition to the relief requested in its Motion

 to Dismiss the involuntary petition as a bad faith filing, Deluxe requests that this

 Court order any further relief as it deems just.




   Dated: November 29, 2021                     Respectfully submitted,

                                                ECKERT SEAMANS C HERIN &
                                                MELLOTT, LLC


                                                     /s/ Casey Alan Coyle
                                                    Mark S. Stewart (ID No. 75958
                                                    Casey Alan Coyle (ID No.
                                                    307712
                                                    213 Market Street, 8th Floor
                                                    Harrisburg, PA 17101
                                                    (717) 237-6000
                                                     mstewart@eckertseamans.com
                                                     mcoyle@eckertseamans.com

                                                    Counsel for Deluxe Building
                                                    Solutions, LLC

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                           CERTIFICATE OF SERVICE

          The undersigned counsel to Deluxe Building Solutions, LLC, hereby

 certifies that I have caused the foregoing SUPPLEMENTAL

 MEMORANDUM OF LAW to be electronically served upon the following via

 the Court's CM/ECF system by filing the same this 29 th day of November, 2021.

                                    Harry D. Lewis
                               hlewis@quickjustice.law
                           Attorney for Petitioning Creditors

                             Gregory Benjamin Schiller
                            Gregory.B.Schiller@usdoj.gov
                              US Department of Justice
                               Office of the US Trustee

                                  Andrew W. Hayes
                                4 South Stanwich Road
                                Greenwich, CT 06831

                                      Jill M. Spott
                               jspottesq@sheilslaw.com
                       Attorney for Robert P. Sheils Jr. (Trustee)


 Dated: November 29, 2021                             Respectfully submitted,

                                               /s/ Casey Alan Coyle




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